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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHER DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
     Plaintiff,                           )
                                          )
v.                                        )       No. 21 CR 698
                                          )       The Hon. Judge Gettleman
RONALD MOLO,                              )
    Defendant.                            )


                     MOTION FOR SUBSTITUTION OF COUNSEL


       Now Comes Defendant, RONALD MOLO and respectfully requests this honorable court

permit his court-appointed counsel, JASMINE JOHNSON, to withdraw as attorney of record,

and allow JOSHUA B. ADAMS, to file his appearance as counsel of record in this matter.




                                                  Respectfully submitted,

                                                  s/Joshua B. Adams
                                                  Joshua B. Adams
                                                  Counsel for Ronald Molo


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